  EXHIBIT A

(FILED UNDER SEAL)
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                     SETTLEMENT AGREEMENT AND GENERAL RELEASE

       Virginia Giuffre, f/k/a Virginia Roberts (“Virginia Roberts”), individually, and Jeffrey
Epstein, individually (jointly referred to as “Parties”), enter into this Setttement Agreement
and General Release           (“Settlement Agreement”)          in order to resolve the      pending litigation
between them         as   follows:

       1.           Dismissal. The Parties       agree     to   immediately dismiss the pending          lawsuit

presently styled          Jane Doe No. 102           vs.   Jeffrey Epstein,     Case No. 09-80656-CIV-

Marra/Johnson (Southern District of Florida), with              prejudice upon payment and clearance of
the settlement amount; however, the Court will be asked to retain jurisdiction to enforce the

terms of this Settlement Agreement.

      2.            General     Release.     Virginia      Roberts    and      her    agent(s), attorney(s),
predecessor(s), successor(s), heir(s), administrator(s), and/or assign(s) (hereinafter, “First
Parties”),    for and in consideration of the              sum    of Five Hundred Thousand Dollars

($500,000.00)        and other valuable consideration, received from                 or on   behalf of   Jeffrey
Epstein       and     his     agent(s), attorney(s), predecessor(s), successor(s), heir(s),
administrator(s), assign(s) and/or employee(s) (hereinafter, “Second Parties’), the receipt
whereof is    hereby acknowledged,
       HEREBY remise, release,              acquit, satisfy,     and forever   discharge the said        Second

Parties and     any other person       or   entity   who could have been included              as a    potential
defendant     (“Other Potential Defendants”) from all,           and all   manner    of, action and actions of

Virginia Roberts, including State or Federal, cause and causes of action (common law or
statutory),    suits, debts, dues,      sums      of money, accounts,           reckonings,      bonds, bills,




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specialties,     covenants, contracts, controversies,          agreements, promises,        variances,

trespasses, damages, judgments, executions, claims, and demands whatsoever in law or in
equity for compensatory or punitive damages that said First Parties ever had or now have,
or   that any personal    representative, successor, heir, or assign of said First Parties hereafter
can,   shall, or may have, against Jeffrey Epstein, or Other Potential Defendants for, upon, or

by reason of any matter, cause, or thing whatsoever (whether known or unknown), from the
beginning of the world to the day of this release.           The issue of amount of    attorneys’ fees
and costs is     specifically addressed in Paragraph 8, Attorneys’ Fees and Costs.
             is further agreed that this Settlement Agreement       represents a final resolution of a
disputed claim and is intended to avoid litigation.       This Setttement Agreement shall not be

construed to be      an   admission of   liability or fault by any party. Additionally, as a material
consideration in     settling,   First Parties and Second Parties agree that the terms of this

Settlement Agreement are not intended to be used             by any other person nor be admissible
in   any   proceeding or case against or involving Jeffrey Epstein, either civil or criminal.
           First and Second Parties further stipulate and agree that this Settlement Agreement

is   pursuant   to and is in fulfillment of    Jeffrey Epstein’s obligations    to   Virginia    Roberts,
exclusive of      attorneys’   fees and costs,    pursuant    to and in   conformity    with the Non-

Prosecution      Agreement,      its Addendum, and its Affirmation        (collectively,   the   “NPA’),
between      Jeffrey Epstein and the United States Attorney for the Southern District of Florida.
           First and Second Parties further stipulate and     agree that this Settlement Agreement
should not in    any way be construed as an admission by Jeffrey Epstein that he violated any
federal statute that constitutes     a   predicate for a damage claim under 18 U.S.C. § 2255 or
an   admission that he violated any other federal       or   state statute.

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          3.         Payment. Payment                   of the settlement funds has been made to                                Virginia
 Roberts’      attorneys’ trust account, but may not be released until this agreement has been
executed and the               case    is dismissed with           prejudice.
          4.         Reciprocal Confidentiality.                          The Parties         agree that the amount of this
settlement shall be             kept strictly confidential and shail not be disclosed at any time to any
.third   party, except: (a) immediate family members of the Parties (whose identities must be
 provided      as   “Eyes Only”            to   Sidney Stubbs, Esq., Special                   Master,    or       his   designee,    in   a


sealed     envelope            to be    opened only          if    a    third   party    is   alleged   to have breached this

provision); (b)          to the extent           required by            law     or    rule; (c) to the extent necessary in
connection with medical treatment,                               legal,     financial,    accounting          or    tax    services,       or


appropriate tax reporting purposes (only if necessary); (d) in the event that all or part of the
proceeds of this settlement are to be placed in trust for Virginia Roberts, to the trustee(s) of
such trust;         or   (e)   in   response       to   a   validly         issued     subpoena     from      a     governmental           or


regulatory agency. Any third party who is advised of the settlement amount must sign a
document acknowledging that such third                            party is aware of this confidentiality provision and
is bound       by it, including the provisions contained in this Settlement Agreement relating to
the enforcement of this               confidentiality provision.                The Parties further agree that the Parties

shall not      provide any copy, in whole or in part, or in any form, of this Settlement Agreement
to   any third party, except to the extent                       required by !aw or rule or in response to a validly
issued     subpoena            from    a   governmental            or     regulatory agency.            Moreover, neither this

Settlement          Agreement,          nor     any copy hereof,                nor    the terms hereof shall be used or

disclosed in         any court, arbitration,                or    other      legal proceedings, except                   to enforce the

provisions       of this Settlement              Agreement.             If any of the Parties           are   served with       a    valid

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subpoena, court order, government agency order or subpoena, or other compulsory legal
process, pursuant           to which disclosure of this Settlement          Agreement,           the settlement

amount,      or   other terms hereof is   requested, or production of the Settlement Agreement is
requested, the Party so served shall give counsel for the other Party notice thereof within
five   (5) days of such service and, prior to making any such disclosure, shall give counsel to
such other        Party at least ten (10) days to commence necessary proceedings to obtain a
court order       preventing, limiting, or otherwise restricting such disclosure.
        5.          Anonymity.      Second Parties shall not release          Virginia     Roberts’       identity,
name, or     physical depiction, or otherwise identify Virginia Roberts, absent Virginia Roberts’
express written waiver of her          right to anonymity,     outside of   ongoing       or    future   litigation-
related   or   claim-related matters. First Parties     acknowledge that Second Parties have no
control   over     what other   plaintiffs’ attorneys, witnesses’ attorneys, or witnesses may do or
disclose in other       cases    regarding depositions    and   discovery.         Second Parties may be

required to subpoena and depose Virginia Roberts and call her at trial(s).                           Except      as


provided       in this Settlement     Agreement, nothing        shall    prohibit    Second Parties from

conducting Jeffrey Epstein’s           defense,   investigation,   and    trial(s)   as   his    lawyers     deem

appropriate.        Robert    Josefsberg   and Katherine Ezell      are    hereby    deemed to have full

authority to accept a subpoena from Second              Parties    on   Virginia   Roberts’ behalf,        so   that

Second Parties        are   not in violation of the terms of   Paragraph 6, No Contact.
        6.          No Contact.     Jeffrey Epstein agrees to continue to abide by Judge Marra’s
July 31, 2009 No Contact Order or any modification of same by the Court, so long as First
Parties   are     given notice of any such modification and an opportunity to address this matter
before the Court.




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        7.         Enforcement. This Settlement Agreement shall be governed                       by the laws of
the State of Florida. In the event of litigation        arising out of a dispute over the interpretation
of this Settlement      Agreement, the prevailing party shall be entitled to recover its cost of
litigation, including attorneys’      fees and other reasonable costs of                litigation.   Should the

federal court not retain jurisdiction, the Parties          (and any third party) agree that the courts of
the   15™ Judicial Circuit of     Palm Beach     County shall        have exclusive       jurisdiction   over   the

subject matter and shall have personal jurisdiction                over   the Parties   (and third parties).     In

the event of an enforcement maiter, the First Parties                (and any third party family member)
agree that Robert Josefsberg         or   Katherine Ezell is authorized to           accept service for them,
and Robert D.       Critton, Jr. is authorized   to   accept service for Jeffrey Epstein.
          First and Second Parties        expressly acknowledge and agree that,                if either First   or


Second Parties allege that a breach of the            confidentiality provision has occurred, or if First
Parties   allege that a    breach of the    anonymity or no contact provision               has occurred, the

aggrieved    First or Second Parties may seek              an   appropriate remedy with the Court.          If the

Court finds    a   breach of the    confidentiality, anonymity,           or no   contact   provision    set forth

above, the Court shall determine the amount of the award.                         Equitable remedies are not
relinquished by virtue of this provision; nor does either Party relinquish the right to pursue
any other legal or equitable damages to which (s)he may be entitled as a result of the other

Party’s   breach,    including,   but not limited to,      prevailing party costs,       to include   attorneys’
fees.

        8.         Attorneys’ Fees and Costs.          This settlement does not include any amounts

for   attorneys’ fees or costs.     The Parties and their          attorneys have agreed to resolve the
amount of attorneys’ fees and costs          through the Special Master whom they have mutually
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selected,    Sidney Stubbs, Esq. Virginia Roberts agrees that any claims by her for attorneys’
fees   or   costs is   solely through her attorneys and the Special            Master    proceeding.
        9.       Miscellaneous.

                 a.    The Parties further confirm and               acknowledge        that this Settlement

                       Agreement is being entered into without any duress or undue influence,
                       and that    they   have had   a   full and   complete opportunity        to discuss the

                       terms of the Settlement       Agreement with their own attorneys.
                   .
                       Virginia   Roberts    agrees that it is her    obligation   to    pay any    outstanding
                       bills   relating   to this matter from all healthcare        providers, satisfy any
                       healthcare    provider obligations arising out of the injuries underlying               her

                       claim, and hold Second Parties harmless from same. This provision does
                       not include health care evaluations, if any, which          are   costs that have been

                       paid for by her attorneys. These costs will be subject to reimbursement by
                       the Second Parties, to the extent that they are for evaluation and not

                       treatment. If the Parties do not       agree    as to   whether these costs       are   for

                       evaluations and not treatment and/or do not                        agree     as   to the

                       reasonableness of the amounts claimed, then the                    Special   Master will

                       make those determinations.

                   .   This Settlement       Agreement       was    negotiated   and entered into        by    the

                       Parties with the advice and assistance of          respective counsel.
                   .   This Settlement        Agreement may           be executed         by   the Parties in

                       counterparts on separate signature pages.
                 e.     The Parties and their counsel will          cooperate to execute the necessary
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paperwork    and court   filings   to   carry out the terms of this Settlement

Agreement.


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It is   so   agreed.

 Uett0q
Date
                         Vo
               ‘Virginia Giuffre f/k/a
               Virginia Roberts
                                             CHE              Date                    Jeffrey Epstein


STATE OF   New Sen   es
                                            tA        )
COUNTY OF __Roeeta\se

             BEFORE ME, the           undersigned authority, personally appeared Virginia Giuffre/ f/k/a
Virginia Roberts, who is personally known to me or has produced Briers                                Crcence        ,


as identification, and executed the foregoing instrument.

                                                                    whe Sorin,
             WITNESS my hand and official seal this              77      day of Nevembex                     2009.


                     GERARD ALLPORT
             Justice of the p:
                            Peace   Rag]              Justi                      ce
             inand fort. sete
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                              ofH eesouth
                              Waicron Road
                                                      Print Name:
                                                      Commission No.
                                                                                 GeaRReD
                                                                                       Ss
                                                                                                   Avec Wea AN
                                                      My Commission Expires:                “ya              AON




STATE OF FLORIDA                                      )
COUNTY OF PALM BEACH                                  )
       BEFORE ME, the undersigned authority,                  personally appeared Jeffrey Epstein, who
is personally known to me or has produced                                               ,   as   identification, and
executed the foregoing instrument.

             WITNESS my hand and official seal this                     day of                           ,   2009.



                                                      Notary Public
                                                      Print Name:
                                                      Commission No.:
                                                      My Commission Expires:




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For Any Notice Provision:

   1. For   Virginia Roberts   Robert C. Josefsberg, Esq. or
                               Katherine W. Ezell, Esq.
                               Podhurst Orseck, P.A.
                               25 West Flagler Street, Suite 800
                               Miami, FL 33130
                               Phone: 305-358-2800
                               Fax:    305-358-2832

   2. For   Jeffrey Epstein    Robert D. Critton, Jr., Esq.
                               Burman, Critton, Luttier & Coleman, LLP
                               303 Banyan Boulevard, Suite 400
                               West Palm Beach, FL 33401
                               Phone: 561-842-2820
                               Fax: 561-253-0164
                               or


                               Jack Alan Goldberger, Esq.
                               Atterbury Goldberger & Weiss, P.A.
                               250 Australian Avenue South, Suite 1400
                               West Palm Beach, FL 33401-5012
                               Phone: 561-659-8300
                               Fax:     561-835-8691




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It is   so   agreed.


Virginia Giuffre fik/a
Virginia Roberts

                         Date                                         Date
                                                                               jes     O7

STATE OF                                                        )
COUNTY OF                                                       )
       BEFORE ME, the undersigned authority,                           personally appeared Virginia        Roberts,
who is personally known to me or has produced                                                ,   as   identification,
and executed the foregoing instrument.

             WITNESS my hand and official seal this                          day of                       ,    2009.



                                                                Justice of the Peace
                                                                Print Name:
                                                                Commission No.:
                                                                My Commission Expires:



STATE OF FLORIDA                                                )
COUNTY OF PALM BEACH                                            )
                                               undersigned authority, personally appeared Jeffrey Epstein, who
is personally
executed the
             BEFORE ME, the
                       known to            me or
                        foregoing instrument.
                                                  has produced
                                                                    Biiealg              as identification, and



             WITNESS my hand and official seal this                          dayof /   VoVénBer’           ,   2009.



                         JESSICA CADWELL
                     MY COMMISSION #
                      EXPIRES: April 19, 2013
             ve   BondedThru Notary Public Underwriters   sat

                                                                Commission No. AA
                                                                     GAMES

                                                                                                          Giffure_email_002091
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                              My Commission Expires:

For Any Notice Provision:

   1. For Virginia Roberts    Robert C. Josefsberg, Esq. or
                              Katherine W. Ezell, Esq.
                              Podhurst Orseck, P.A.
                              25 West Flagler Street, Suite 800
                              Miami, FL 33130
                              Phone: 305-358-2800
                              Fax: 305-358-2832
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                              Phone: 561-842-2820
                              Fax: 561-253-0164
                              or


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